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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

ROBERT JAMES SWINT                                                                     PLAINTIFF

v.                                                        CIVIL ACTION NO. 3:21-cv-265-BJB

LORD BALTIMORE COMPANY et al.                                                      DEFENDANTS

                                              ORDER

        Plaintiff Robert James Swint filed a pro se complaint on his own paper. See DN 1. The

Local Rules require that a pro se civil rights complaint must be filed on this Court’s approved

form. See L.R. 5.3(a). In addition, Plaintiff neither paid the filing fee nor filed an application to

proceed without prepayment of fees. On April 27, 2021, the Clerk of Court issued a notice of

deficiency directing Plaintiff to file the complaint on the Court-approved form and to either pay

the filing fee or file an application to proceed without prepayment of fees within 30 days. See

DN 3. More than 30 days have passed, and Plaintiff has not complied with the deficiency notice.

        The Court now orders Plaintiff to file an amended complaint on the Court-approved form.

In the amended complaint, Plaintiff must include all claims he wishes to assert, state all facts

relevant to his claims, and name as Defendants all individuals whom he believes violated his

rights. The amended complaint shall supersede the original complaint (DN 1). Plaintiff has 30

days from the entry of this Order to file an amended complaint on the Court’s general complaint

form and prepare a summons for each Defendant.

        In addition, the Court ORDERS that Plaintiff has 30 days from the entry of this Order to

either pay the $402 filing fee or file a non-prisoner application to proceed without prepayment of

fees. Should Plaintiff choose to pay the fee, he may send it to: United States District Court,
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Western District of Kentucky, 601 W. Broadway, Suite 106, Louisville, KY 40202. Checks

shall be made payable to Clerk, U.S. District Court.

        The Court DIRECTS the Clerk of Court to send Plaintiff a general complaint form, three

summons forms, and a non-prisoner application to proceed without prepayment of fees with the

instant case number affixed to each and the word “Amended” also affixed to the complaint form.

        The Court WARNS Plaintiff that his failure to comply fully with this Order within

the time allotted will result in DISMISSAL of this case for failure to comply with an Order

of this Court.

Date:    June 9, 2021




cc:    Plaintiff, pro se
B213.009




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